

People v Ferreira (2021 NY Slip Op 05049)





People v Ferreira


2021 NY Slip Op 05049


Decided on September 23, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 23, 2021

111410
[*1]The People of the State of New York, Respondent,
vTimothy Ferreira, Appellant.

Calendar Date:September 3, 2021

Before:Egan Jr., J.P., Lynch, Clark, Pritzker and Colangelo, JJ.

Thomas R. Villecco, Albany, for appellant.
Weeden A. Wetmore, District Attorney, Elmira (Susan Rider-Ulacco of counsel), for respondent.



Appeal from a judgment of the County Court of Chemung County (Rich Jr., J.), rendered March 9, 2018, convicting defendant upon his plea of guilty of the crime of attempted promoting prison contraband in the first degree.
Defendant pleaded guilty to attempted promoting prison contraband in the first degree. County Court sentenced him, as a second felony offender, to the agreed-upon term of 1½ to 3 years in prison, to run consecutively to the sentence that he was then serving. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the basis that there are no nonfrivolous issues to be raised on appeal. Based upon our review of the record and counsel's brief, we agree. Consequently, the judgment is affirmed and counsel's request for leave to withdraw is granted (see People v Cruwys, 113 AD2d 979, 980 [1985], lv denied 67 NY2d 650 [1986]; see generally People v Beaty, 22 NY3d 490 [2014]; People v Stokes, 95 NY2d 633 [2001]).
Egan Jr., J.P., Lynch, Clark, Pritzker and Colangelo, JJ., concur.
ORDERED that the judgment is affirmed, and application to be relieved of assignment granted.








